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                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF GEORGIA
    UNITED STATES OF AMERICA,                            ORDER OF DETENTION PENDING FINAL
         vs.                                             HEARING ON PETITION FOR REVOCATION
                                                         OF SUPERVISED RELEASE

    SHANE KNIGHT                                         CASE NO. 1:06-CR-514

         In accordance with FED. R. CR. P. 32.l(a)(6) and 46(d), and the Bail Reform Act, 18 U.S.C. §3143(a), a
detention hearing has been held. I conclude that the following facts require the detention of the defendant
pending the holding of the final hearing on the petition to revoke supervised release in this ~ase.
                                          -                                                        ~W~c
                                                  Part I - Findings                                U.s.o.c.. Atlan~fRT

         The Defendant has not shown by clear and convincing evidence that:                     MAR 3 / 2022
                                                                                            Ka,INp
              The Defendant is not a serious risk of non-appearance at the final hearing;    By:    · IIVEtNIER
                                                                                                                  , Clerk.
                                                                                                          De~
0 (2) There is a serious risk that the defendant will endanger the safety of another person or t:ne,co1mn

                               Part II - Written Statement of Reasons for Detention

     I find that the credible testimony and information submitted at the hearing establishes that:

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                                     Part III - Directions Regarding Detention

     The defendant is committed to the custody of the Attorney General or his designated representative of
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving
sentences or being held in custody pending appeal. The defendant shall be afforded a reasonable opportunity for
private consultation with defense counsel. On order of a court of the United States or on request of an attorney
for the Government, the person in charge of the corrections facility shall deliver the defendant to the United
States marshal for the purpose of an appearance in connection with a court proceeding.

     IT IS SO ORDERED, this _3_1~st__ day of MARCH                                           , 2021.




                                                                RUSSELL G. VINEYARD
                                                                UNITED STATES MAGIS
